                    Case 2:15-md-02641-DGC   Document
                                     UNITED STATES    3113 Filed
                                                   DISTRICT COURT08/22/16 Page 1 of 1
                                                                FOR THE
                                                          DISTRICT OF ARIZONA

Debra Martin,                                              )
                                                           )
                      Plaintiff,                           )           MDL Case No. 2:15-md-02641-DGC
                                                           )
                          v.                               )           Civil Action No. CV-16-02731-PHX-DGC
                                                           )
Bard Peripheral Vascular, Inc.,                            )
                                                           )
                     Defendant.                            )

                                            WAIVER OF THE SERVICE OF SUMMONS
To: Levin, Papantonio, Thomas, Mitchell, Raffert & Proctor, PA
       (Name of plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 8/12/2016, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail
to do so, a default judgment will be entered against me or the entity I represent.

Date:     August 19, 2016                                      /s/ Richard B. North, Jr.
                                                               Signature of the attorney or unrepresented party

Bard Peripheral Vascular, Inc.                                         Richard B. North, Jr. (Ga. Bar No. 545599)
Printed name of party waiving service                          Printed Name
of summons
                                                               Nelson Mullins Riley & Scarborough, LLP
                                                               201 17th St., NW, Suite 1700, Atlantic Station, Atlanta, GA 30363
                                                               Address

                                                               richard.north@nelsonmullins.com
                                                               E-mail Address

                                                               (404) 322-6155
                                                               Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
